                                                                   Case 2:15-cv-00692-GMN-CWH Document 155 Filed 09/25/20 Page 1 of 2




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                                                            8
                                                            9                                       UNITED STATES DISTRICT COURT
                                                            10                                          DISTRICT OF NEVADA
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                                                            11   BANK OF AMERICA, N.A.,                                 Case No.: 2:15-cv-00692-GMN-CWH
                      LAS VEGAS, NEVADA 89134




                                                            12
                                                                                       Plaintiff,
AKERMAN LLP




                                                                                                                        JOINT MOTION TO STAY AND NOTICE
                                                            13                                                          OF SETTLEMENT
                                                                 v.
                                                            14
                                                                 SFR INVESTMENTS POOL 1 LLC; SBH 2
                                                            15   HOMEOWNERS'     ASSOCIATION;    DOE
                                                            16   INDIVIDUALS I–X; inclusive, and ROE
                                                                 CORPORATIONS I–X, inclusive,
                                                            17
                                                                                       Defendants.
                                                            18

                                                            19   AND ALL RELATED CLAIMS.
                                                            20

                                                            21                Bank of America N.A. (BANA) and SFR Investments Pool 1, LLC jointly move to stay this
                                                            22   matter for 120 days as a result of a settlement reached by the parties. The property at issue in this
                                                            23   case is part of a more global settlement between BANA and SFR and while the settlement agreement
                                                            24   has been executed, SFR has been unable to perform a condition precedent to finalizing the
                                                            25   agreement due to complications related to the COVID-19 pandemic. The parties have agreed to an
                                                            26   extension of the deadline to perform the condition precedent.
                                                            27   …
                                                            28   …

                                                                 54644531;1
                                                                   Case 2:15-cv-00692-GMN-CWH Document 155 Filed 09/25/20 Page 2 of 2




                                                            1                 To allow time for performance of certain requirements of the settlement, the parties

                                                            2    respectfully ask the court to stay the action for 120 days. After the 120 days the parties will file a

                                                            3    status update about the settlement.

                                                            4                 DATED this 23rd day of September, 2020.

                                                            5     AKERMAN LLP                                                KIM GILBERT EBRON
                                                            6
                                                                  /s/ Scott R. Lachman                                       /s/ Jacqueline A. Gilbert
                                                            7     MELANIE D. MORGAN, ESQ.                                    DIANA S. EBRON, ESQ.
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                                                            11
                      LAS VEGAS, NEVADA 89134




                                                            12                                                               Attorneys for SFR Investments Pool 1, LLC
AKERMAN LLP




                                                            13
                                                                                                                        ORDER
                                                            14
                                                                              IT IS SO ORDERED.
                                                            15
                                                                              IT IS FURTHER ORDERED that
                                                            16
                                                                              the parties shall file either dismissal
                                                            17                documents or a Joint Status Report
                                                                              informing the Court of the status of
                                                            18                settlement by January 25, 2020.
                                                                                                            2021
                                                            19                                                                             25 day of September, 2020.
                                                                                                                                Dated this ___
                                                            20

                                                            21
                                                                                                                                _________________________________
                                                            22                                                                  Gloria M. Navarro, District Judge
                                                                                                                                UNITED STATES DISTRICT COURT
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